            Case 1:21-cr-00444-JEB Document 16 Filed 06/24/21 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    : MAGISTRATE NO. 21-MJ-469 (RMM)
                                                 :
 BRIAN CHRISTOPHER MOCK,                         :
      Defendant.                                 :
                                                 :



                                 UNITED STATES’ RESPONSE TO
                                 DEFENDANT’S SUPPLEMENTAL
                                       MEMORANDUM

       The defendant has furnished a list of comparator cases that he believes the Court should

consider under Munchel. 991 F.3d 1273, 1284 (D.C. Cir. 2021). The list contains some cases

involving assaultive conduct “in which the government did not seek detention in the first

instance.” (Mock’s Supplemental Memorandum, ECF No. 15). While comparisons are relevant,

each defendant’s conduct, history, and characteristics must be assessed individually to determine

whether the defendant presents a continuing danger to the community. Mock’s case is

distinguishable from the cited cases based upon his unique collection of circumstances that

underscore his continuing dangerousness: (1) he has a violent criminal history that precedes

January 6; (2) he assaulted multiple officers on January 6; and (3) he threatened a witness after

January 6. This last factor renders Mock eligible for detention under 18 U.S.C. § 3142(f)(2)(B),

which, at the outset, distinguishes this case from the majority of cases he cites.

       As for those comparators he cites in which the defendants were eligible for detention

under 18 U.S.C. § 3142(f)(1)(A), they are readily distinguishable:

       •        United States v. Palmer (21-cr-328). Palmer sprayed and threw a fire extinguisher at


                                                    1
    Case 1:21-cr-00444-JEB Document 16 Filed 06/24/21 Page 2 of 4




    officers who were protecting the Lower West Terrace of the Capitol and also threw a

    metal pole. He was charged with, among other things, assault under 18 U.S.C.

    § 111(b), which made him eligible for detention under 18 U.S.C. § 3142(f)(1)(A). See

    United States v. Bates, 960 F.3d 1278, 1287 (11th Cir. 2020) (“The use of a deadly

    weapon under § 111(b) transforms a § 111(a) act into a crime of violence.”). Unlike

    Mock, Palmer had no violent criminal convictions, nor did he make any threats to

    witnesses after January 6, and he surrendered voluntarily to authorities.

•   United States v. Schaffer (21-cr-306). Schaffer is a known Oath Keeper who was

    among a mob that aggressively advanced upon the officers guarding the Capitol

    building doors and broke through those doors. Schaffer brought bear spray with him

    to the Capitol, and, thus, he was eligible for detention under 18 U.S.C.

    § 3142(f)(1)(E) (“any felony that is not otherwise a crime of violence that

    involves…the possession or use of…any other dangerous weapon.”). The government

    sought detention, and Schaffer was ordered detained. (21-cr-306, ECF No. 12, Order

    of Detention Pending Trial). Schaffer was not released until after he pleaded guilty

    and agreed to cooperate with the government. (21-cr-306, ECF No. 29, Plea

    Agreement, Page 5; 21-cr-306, ECF No. 26, Order Setting Conditions of Release

    dated April 16, 2021). Schaffer differs from Mock because he has accepted

    responsibility for his crimes, had no prior criminal convictions, and did not make any

    threats to witnesses after January 6. Schaffer also is not charged with assaulting any

    officers.

•   United States v. Stevens (21-cr-40). Like Palmer, Stevens was charged with assault

    under 18 U.S.C. § 111(b) and was eligible for detention under 18 U.S.C.


                                         2
          Case 1:21-cr-00444-JEB Document 16 Filed 06/24/21 Page 3 of 4




           § 3142(f)(1)(A). Stevens pushed against a line of officers while carrying a stolen riot

           shield. At one point, the riot shield struck an officer on the helmet. The government

           did seek detention when Stevens was arrested in Florida, but a Magistrate Judge there

           ordered Stevens released and the government did not appeal that determination.

           Stevens is distinguishable from Mock because Stevens had no violent criminal history

           and did not make any threats to witnesses after January 6.

       Mock has not identified a single case of a released Capitol riot defendant that involved

the same trifecta of facts that establish his dangerousness: a violent criminal history, violent

conduct at the Capitol, and threats to a witness afterward. Despite its similarity to the present

case, defendant fails to mention United States v. Worrell, in which the Court ordered detention

based on similar conduct. United States v. Worrell, No. 21-cr-292, ECF. No. 13, Order of

Detention Pending Trial, and the District of Columbia Circuit Court affirmed in an unpublished

judgment. United States v. Worrell, No. 21-3020, Doc. 1897399 (D.C. Cir. May 5, 2021) (per

curium). Worrell discharged pepper spray gel toward law enforcement officers and made

threatening statements regarding a witness upon his arrest. (Id. at Page 6–7). Moreover, despite

his affiliation with the Proud Boys, Worrell’s criminal history was not as violent as Mock’s.

Worrell supports detention in this case.

       The District of Columbia Circuit Court also affirmed the detention of another Capitol riot

defendant just today. United States v. Quaglin, 21-3028, Doc. 1903708 (June 24, 2021). In doing

so, the panel in Quaglin emphasized Munchel’s distinction between “those who actually

assaulted police officers…”. Id. at Page 3. While Quaglin’s offense conduct on January 6 was

more egregious than Mock’s, Quaglin does not have a criminal history and did not make any

threats to witnesses as did Mock. Like Mock, Quaglin boasted about his assaults after the fact.


                                                  3
          Case 1:21-cr-00444-JEB Document 16 Filed 06/24/21 Page 4 of 4




       Mock’s violent assault of multiple officers, his violent criminal history, and his threats to

a witness in this case place him solidly in the company of those defendants who present a

continuing danger to the community. The government therefore respectfully requests that the

Court order Mock detained pending trial because no conditions or combinations of conditions

can reasonably assure the safety of the community.




                                       Respectfully submitted,

                                       CHANNING D. PHILLIPS
                                       ACTING UNITED STATES ATTORNEY

                                       s/Amanda Jawad
                                        Amanda Jawad
                                       Assistant United States Attorney
                                       District of Columbia Detailee
                                       N.Y. Bar 5141155
                                       U.S. Attorney’s Office
                                       211 W. Fort Street
                                       Detroit, MI 48226
                                       (313) 226-9116
                                       amanda.jawad@usdoj.gov

Date: June 24, 2021




                                                 4
